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 9   Attorneys for Defendant
     TetraMem, Inc.
10
                           IN THE UNITED STATES DISTRICT COURT
11
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN JOSE DIVISION
13

14
     XIAOHUA HUANG,                          Case No. 5:23-cv-04936-SVK
15
                                             DEFENDANT TETRAMEM, INC.’S
16                    Plaintiff,             REQUEST FOR JUDICIAL NOTICE IN
            v.                               SUPPORT OF MOTION FOR AN
17                                           AWARD OF ATTORNEYS’ FEES AND
     TETRAMEM, INC.,                         COSTS UNDER 35 U.S.C. § 285
18
                      Defendant.
19                                           Date:     December 12, 2023
                                             Time:     10:00 a.m.
20                                           Ctrm.:    6, 4th Floor
                                             Before:   Hon. Susan van Keulen
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     DEFENDANT TETRAMEM, INC.’S                              Case No. 5:23-cv-04936-SVK
     REQUEST FOR JUDICIAL NOTICE
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 1                                REQUEST FOR JUDICIAL NOTICE
 2          Defendant TetraMem, Inc. (“TetraMem”) respectfully requests that the Court take
 3   judicial notice of the following facts, which “can be accurately verified and readily determined
 4   from sources whose accuracy cannot be reasonably questioned” pursuant to Rule 201 of Federal
 5   Rules of Evidence. This Court may “take judicial notice of undisputed matters of public record,
 6   including documents on file in federal or state courts.” Harris v. County of Orange, 682 F.3d
 7   1126, 1131-32 (9th Cir. 2012) (citations omitted). Accordingly, the following documents are
 8   appropriate subjects of judicial notice:
 9          1.      Attached as Exhibit A is a true and correct copy of the Order of the United States
10   District Court for the Eastern District of California filed on December 15, 2020, for the matter
11   entitled Huang v. Genesis Glob. Hardware, Inc., with a case number 20-cv-1713, attached as
12   Exhibit A. In footnote 5, the Court “note[d] other patent cases plaintiff ha[d] brought as a pro se
13   litigant, which include citations to plaintiff’s history of vexatious conduct and inability to
14   follow the federal and local rules of court—despite being given multiple opportunities to do
15   so.” Ex. A at 7 n.5 (emphasis added).
16          2.      Attached as Exhibit B is a true and correct copy of the Docket Navigator search
17   results page dated October 31, 2023 pertaining to the lawsuits filed by Plaintiff Xiaohua Huang
18   from January 1, 2020 to October 31, 2023, which he later on voluntarily dismissed, 28 in total.
19          3.      Attached as Exhibit C is a true and correct copy of the Docket Navigator search
20   results page dated October 31, 2023 showing the number of new patent cases filed by Plaintiff
21   Xiaohua Huang by forum and year from January 1, 2020 to October 31, 2023.
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     DEFENDANT TETRAMEM, INC.’S                                           Case No. 5:23-cv-04936-SVK
     REQUEST FOR JUDICIAL NOTICE
       Case 5:23-cv-04936-SVK Document 11 Filed 11/01/23 Page 3 of 3



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                                           Respectfully submitted,
 2

 3    Dated: November 1, 2023           By: /s/ James Hannah
                                           Paul J. Andre (Bar No. 196585)
 4                                         Lisa Kobialka (Bar No. 191404)
                                           James Hannah (Bar No. 237978)
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     DEFENDANT TETRAMEM, INC.’S                             Case No. 5:23-cv-04936-SVK
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